
OPINION OF THE COURT
PER CURIAM.
Upon review of the record, briefs and argument,1 we have concluded that the issues raised by Zoning Resolution No. Z-236-86 are fairly debatable upon the evidence presented, which we find to be substantial and competent. We must therefore affirm upon the authority of Dade County v. United Resources, 374 So.2d 1046 (Fla. 3d DCA 1979); *127Solomon v. Metropolitan Dade County, 253 So.2d 886 (Fla. 3d DCA 1971); Smith v. City of Miami Beach, 213 So.2d 281 (Fla. 3d DCA 1968); City of Miami v. Zorovich, 195 So.2d 31 (Fla. 3d DCA 1967); Housing Authority of the City of Melbourne v. Richardson, 196 So.2d 489 (Fla. 4th DCA 1967); Elwyn v. City of Miami, 113 So.2d 849 (Fla. 3d DCA 1959). See also Mayflower Property, Inc. v. Watson, 233 So.2d 390 (Fla. 1970); Marrell v. Hardy, 450 So.2d 1207 (Fla. 4th DCA 1984).
Affirmed.

 We treat the petition for writ of certiorari as a notice of appeal, as provided in Florida Rule of Appellate Procedure 9.040(c), and consider the case on the merits. See also Committee Notes to the Rule (1977 Revision).

